IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

WYNDHAM VACATION RESORTS, INC.; )

STERLING FOREST TOWNHOUSE )

ASSOCIATION, INC.; KENSINGTON )

WOODS TOWNHOUSE ASSOCIATION, )

INC.; OAK KNOLL PROPERTY OWNERS) No. 3:12-cv-1327
ASSOCIATION, INC.; STONECASTLE )
PROPERTY OWNERS ASSOCIATION,
INC.; LAUREL RIDGE TOWNHOUSES
PROPERTY OWNERS ASSOCIATION,
INC.; and WELLINGTON PLACE
CONDOMINIUM PROPERTY OWNERS
ASSOCIATION, INC.,

Chief Judge Haynes

V.

VP TRANSFERS, LLC; VACATION
WISHES, LLC; RESORT PROPERTY
HOLDINGS, LLC; ROGER KARES;

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Plaintiffs, )
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and DANA L. BOUCHER, )
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Defendants.

0 R D E R
In accordance With the Memorandum filed herewith, Plaintiffs’ motion for summary
judgment (Docket Entry N0. 22) is GRANTED.
lt is so ORDERED.

ENTERED this the 026 day ofAuguSt, 2013.

WILLIAM J. MNE§)JR.

Chief Judge
United States District Court

 

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